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10 SAMSUNG SDI BRASIL LTDA.,
   SHENZHEN SAMSUNG SDI CO., LTD. and
11 TIANJIN SAMSUNG SDI CO., LTD.

12                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
13                                   SAN FRANCISCO DIVISION
14
   In re: CATHODE RAY TUBE (CRT)                      Master Case No. 07-5944 SC
15 ANTITRUST LITIGATION
                                                      MDL No. 1917
16
     This Document Relates to:                        SDI DEFENDANTS’ REPLY IN SUPPORT
17                                                    OF THEIR MOTION FOR PARTIAL
   Alfred H. Siegel, as Trustee of the Circuit        SUMMARY JUDGMENT FOR LACK OF
18 City Stores, Inc. Liquidating Trust v.             STANDING AS TO DIRECT ACTION
   Hitachi, Ltd., et al., No. 11-cv-05502;            PLAINTIFFS’ SHERMAN ACT DAMAGE
19                                                    CLAIMS BASED ON CRT PRODUCT
   CompuCom Systems, Inc. v. Hitachi, Ltd., et        PURCHASES FROM SAMSUNG
20 al., No. 11-cv-06396;                              ELECTRONICS
21 Costco Wholesale Corporation v. Hitachi,           Date: February 6, 2015
   Ltd., et al., No. 11-cv-06397;                     Time: 10:00 am
22                                                    Place: Courtroom 1, 17th Floor
   Dell Inc. and Dell Products L.P., v. Hitachi,      Hon. Samuel Conti
23 Ltd., et al, No. 13-cv-02171;

24 Electrograph Systems, Inc. and Electrograph
   Technologies Corp., v. Hitachi, Ltd., et al.,
25 No. 11-cv-01656;

26 Interbond Corporation of America v.
   Hitachi, Ltd., et al., No. 11-cv-06275;
27
   Office Depot, Inc. v. Hitachi Ltd., et al., No.
28

     SMRH:435901846.8                         SDI DEFENDANTS’ REPLY ISO MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                 AS TO DAPS’ CRT PRODUCT PURCHASES FROM SAMSUNG ELECTRONICS
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     11-cv-06276;
 1
   P.C. Richard & Son Long Island Corp.,
 2 Marta Coooperative of Am., Inc., ABC
   Appliance, Inc. v. Hitachi, Ltd., et al., No.
 3 12-cv-02648;

 4 Schultze Agency Services, LLC, on behalf of
   Tweeter Opco, LLC and Tweeter Newco,
 5 LLC v. Hitachi, Ltd., et al., No. 12-cv-
   02649;
 6
   Sears, Roebuck and Co. and Kmart Corp. v.
 7 Chunghwa Picture Tubes, Ltd., et al., No.
   11-cv-05514;
 8
   Target Corp. v. Chunghwa Picture Tubes,
 9 Ltd., et al., No. 11-cv-05514;

10 Tech Data Corp and Tech Data Product
   Management, Inc., v. Hitachi, Ltd., et al.,
11 No. 13-cv-00157;

12 ViewSonic Corp. v. Chunghwa Picture
   Tubes, Ltd., et al., No. 14-02510.
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                                                 AS TO DAPS’ CRT PRODUCT PURCHASES FROM SAMSUNG ELECTRONICS
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                                        AS TO DAPS’ CRT PRODUCT PURCHASES FROM SAMSUNG ELECTRONICS
